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                          UNITED STATES FEDERAL COURT
                               DISTRICT OF MAINE

JOHN COHEN, as next friend              )
and personal representative of the      )
Estate of ERIC COHEN,                   )
an Estate in the County of Cumberland,  )
State of Maine,                         )
                                        )
                 Plaintiff              )
                                        )
v.                                      )
                                        )
CITY OF PORTLAND,                       )
a municipality located in the           )
City of Portland, County of Cumberland, )
State of Maine,                         )
                                        )
&                                       )
                                        )
SERGEANT CHRISTOPHER                    )
GERVAIS, individually and               )
in his official capacity as             )
Sergeant, Portland Police Department, )
                                        )
&                                       )
                                        )
SERGEANT MICHAEL RAND,                  )
individually and                        )
in his official capacity as             )
Sergeant, Portland Police Department, )
                                        )
&                                       )
                                        )
JOHN DOE,                               )
individually and in his official        )
capacity as a Fireman of the Portland   )
Fire Department,                        )
                                        )
                                        )
                                        )
                 Defendants             )



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                       COMPLAINT & DEMAND FOR JURY TRIAL

       NOW COMES the Plaintiff, by and through his attorney and respectfully demands trial

by jury on all of his claims and causes so triable and complains against the Defendants as

follows:

                                JURISDICTION AND VENUE

           1. Jurisdiction is invoked pursuant to Title 28, United States Code, Section 1331

              insofar as Plaintiff’s causes of action raise federal questions under the

              Constitution, laws, treaties or statutes of the United States.

           2. Venue is proper within this District pursuant to Tile 28, United States Code,

              Section 1391(a), insofar as a substantial part of the events or omissions giving rise

              to the claims asserted occurred within the District of Maine. The harm sustained by

              Plaintiff occurred in the District of Maine. This action is properly filed in Portland

              because this case arose in Cumberland County.

                                             PARTIES

           3. At all times relevant to this Complaint, ERIC COHEN, was an individual residing

              in the City of Portland, County of Cumberland, State of Maine.

           4. Plaintiff JOHN COHEN, acting as the personal representative of the Estate of

              ERIC COHEN, is an individual residing in the Town of Highlands Ranch,

              Colorado. Mr. Cohen is also the father of the late ERIC COHEN.

           5. Defendant CITY OF PORTLAND, is a municipality located in the City of

              Portland, County of Cumberland, State of Maine.

           6. Defendant CHRISTOPHER GERVAIS is an individual employed as a Sergeant in


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         the Portland Police Department, located in the City of Portland, County of

         Cumberland, State of Maine.

      7. Defendant MICHAEL RAND is an individual employed as a

          Sergeant in the Portland Police Department, located in the City of Portland,

          County of Cumberland, State of Maine.

      8. Defendant JOHN DOE is an individual employed as a Fireman in the Portland Fire

         Department, located in the City of Portland, County of Cumberland, State of

         Maine.

      9. At all times relevant to this Complaint, the CITY OF PORTLAND employed

         Defendants, SERGEANT CHRISTOPHER GERVAIS, SERGEANT MICHAEL

         RAND, and JOHN DOE and at all times relevant to this Complaint, those

         Defendants were acting within their employment for THE CITY OF PORTLAND.

                             FACTUAL ALLEGATIONS

      10. Plaintiff repeats and realleges the allegations of Paragraphs 1 through 9 as if fully

         restated herein.

      11. On Sunday, April 12, 2020, at 1:23 p.m., Mr. Cohen entered the cold, shallow and

         calm waters of the Back Cove in Portland, Maine.

      12. The air temperature at the time was approximately 43 degrees, Fahrenheit, and the

         water temperature was approximately 41 degrees, Fahrenheit.

      13. Mr. Cohen was not wearing any clothes when he entered the Back Cove and was

         experiencing some form of psychosis.

      14. At 1:23 p.m., Defendant Gervais of the Portland Police requested the Portland Fire


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         Department to provide a boat to pick him and two additional officers up for water

         retrieval.

      15. Defendant Gervais then drove across the city from the Back Cove to the Maine

         State Pier where the boat Marine 3 was docked.

      16. Eleven (11) minutes elapsed while Marine 3 waited for the police officers to

         arrive.

      17. At 1:33 p.m., Defendant Rand arrived at the Back Cove.

      18. The following exchange occurs between Defendant Rand and Defendant

         Cunningham upon Defendant Rand’s arrival: Cunningham to Rand: “The problem

         is, this guy has about 15 minutes to live. If he begins to struggle, I will strip it, go

         in and cover him.” Rand to Cunningham: “We should have the fire boat right off,

         but I understand what you gotta do.”

      19. At 1:34 p.m., Portland Fire Department Marine Rescue 3 advised it was on the

         way. (Aboard were three [3] Portland Police Officers). Mr. Cohen had been in the

         cold water for approximately eleven minutes.

      20. At 1:39 p.m., Defendant Rand arrived shoreline and stated to his fellow officers

         upon seeing Mr. Cohen in the water: “He has done a good job of staying afloat in

         this temperature for so long.” Mr. Cohen was thirty (30) feet off-shore and in

         waist deep water.

      21. By this time, several officers including a K-9 unit, as well as fire-rescue personnel

         had lined the shore.

      22. Ultimately, there were approximately nine (9) officers and fire-rescue personnel on


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         shore in total.

      23. One officer stood with a less than lethal weapon drawn.

      24. Defendant John Doe in the on-shore group yelled to Mr. Cohen “I will kick your

         ass if you come out of the water.”

      25. At 1:40 p.m., Defendant Cunningham remarked to Defendant Rand (both shoreline

         at the Back Cove): “I have watched a lot of people drown and it’s not long now.”

         To which Defendant Rand replied: “Oh, I know.”

      26. No personnel on shore made any attempt to rescue Mr. Cohen, though the means

         and equipment (rope, rings, life jackets, etc.) necessary to do so were available.

      27. At 1:42 p.m., Defendant Cunningham reported that Mr. Cohen had gone under

         water.

      28. Defendant Cunningham remarked: “He is dead.” Defendant Rand replied “Yup.”

      29. At 1:43 p.m., Marine Rescue 3 advised that it had just cleared Tukey’s Bridge. (At

         that time, Mr. Cohen had been in the 41-degree water for twenty (20) minutes).

      30. At 1:45 p.m., Defendant Rand instructed Marine Rescue 3 that Mr. Cohen was

         500 feet from their position and was face down in the water about thirty feet from

         the shore.

      31. At 1:45 p.m., Defendant Cunningham (a former U.S. Coast Guard rescue

         swimmer) offered to go out to Mr. Cohen. “If you give me a life jacket, I’ll go save

         this guy’s life.” Defendant Cunningham was finally authorized to do so (by

         Defendant Rand) and began to remove his tactical vest.

      32. At 1:45 p.m., Marine Rescue 3 reported its location to be about 100 feet from Mr.


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         Cohen.

      33. At 1:45 p.m., Defendant Cunningham (a former U.S. Coast Guard rescue

         swimmer) was instructed (by Defendant Rand) not to enter the water, since Marine

         Rescue 3 was nearing Mr. Cohen’s body.

      34. At 1:46 p.m., Defendant Rand finally inquired if an ambulance was en route and

         close by.

      35. At 1:46 p.m., Fire dispatch informed Defendant Rand that no ambulance had yet

         been assigned. A unit was finally assigned at 1:46 p.m., twenty-three (23) minutes

         after Mr. Cohen entered the water.

      36. At 1:47 p.m., Defendant Gervais (on board Marine Rescue 3) reported that Mr.

         Cohen’s body was on board and that Marine 3 would be landing on the beach.

      37. At this point in time, Mr. Cohen had been face down in the water for four or five

         minutes and had been in the frigid water for twenty-four (24) minutes. Defendant

         Gervais was unable to find a pulse.

      38. At 1:49 p.m., Mr. Cohen’s naked body was brought to shore while the ambulance

         with medics remained en route.

      39. No equipment (suction device etc.) was available to attend to him, not even a

         blanket to warm him up.

      40. No one commenced CPR or other life saving measures.

      41. One Portland Firefighter finally removed his jacket and placed it on Mr. Cohen’s

         shoulders.

      42. Mr. Cohen was otherwise naked, his body exposed to the elements and passersby


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         walking the public Back Cove Trail.

      43. At 1:53 p.m., the ambulance arrived on scene. CPR and other resuscitating

         measures were finally commenced.

      44. At 2:26 p.m., the ambulance left the Back Cove for Maine Medical Center.

      45. At 2:52 p.m., Mr. Cohen was pronounced dead at Maine Medical Center.

      46. The Medical Examiner ruled Mr. Cohen’s manner of death was an “accident” and

         the causes of death were drowning and hypothermia.

                              COUNT I-DUE PROCESS
                               CITY OF PORTLAND

      47. Plaintiff repeats and realleges the allegations contained in paragraphs 1 through 46

         above, as if set forth fully herein.

      48. By the actions of the Portland Police Department in chasing Plaintiff Cohen into

         the cold waters of the Back Bay and then standing on the shoreline as he drowned,

         it created a significant danger to Mr. Cohen, depriving him of due process of law

         as guaranteed by both the Maine and federal Constitutions.

      49. Upon information and belief that the City of Portland through its’ Police

          Department, violated its protocols, training and standards under the

          circumstances, creating such danger to Mr. Cohen.

      50. The City of Portland and its Police Department’s actions and deliberate

          indifference in placing Mr. Cohen in danger were so egregious and outrageous

          that they shock the contemporary conscience.

      51. The City of Portland’s lack of training for its law enforcement officers and its

          officers’ failures to follow standard protocols and procedures deprived Mr. Cohen

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          of due process causing Cohen significant physical and emotional damages,

          including death.

                              COUNT II-DUE PROCESS
                              CHRISTOPHER GERVAIS

      52. Plaintiff repeats and realleges the allegations contained in paragraphs 1 through 51

         above, as if set forth fully herein.

      53. Defendant created a significant danger to Mr. Cohen, depriving him of due process

         of law as guaranteed by both the Maine and federal Constitutions.

      54. Upon information and belief that the Defendant violated his protocols, training and

         standards under the circumstances, creating such danger to Mr. Cohen.

      55. Defendant’s actions and deliberate indifference were so egregious and outrageous

         that they shock the contemporary conscience.

      56. Defendant’s failures to follow standard protocols and procedures deprived Plaintiff

         of due process causing Plaintiff significant physical and emotional damages,

         including death.

                             COUNT III – SECTION 1983
                             CHRISTOPHER GERVAIS

      57. Plaintiff repeats and realleges the allegations of Paragraphs 1 through 56 as if fully

         restated herein.

      58. Pursuant to the Eighth Amendment, Defendant Gervais, individually, owed Mr.

         Cohen a duty to not deprive him of his rights, privileges or immunities secured by

         the Constitution and laws of the United States.

      59. Defendant had a duty to take reasonable measures to avoid denying Mr. Cohen


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         the same, by following orders and complying with orders and his employer’s

         policies and procedures under the circumstances.

      60. Defendant, acting under color of a statute, ordinance, regulation, custom, or usage,

         of the State of Maine, subjected, or caused to be subjected, Mr. Cohen, a citizen of

         the United States, to a deprivation of his rights, privileges, or immunities secured

         by the Constitution and laws of the United States.

      61. As a result of Defendant’s actions and/or inactions, Defendant is liable to Plaintiff

         in an action at law.

      62. Defendant knew of and intentionally and/or recklessly disregarded a known risk to

         Mr. Cohen’s health and safety.

      63. Defendant acted with deliberate indifference to Mr. Cohen’s health and safety,

         causing him injury, specifically death.

      64. Upon information and belief that Defendant also failed to follow procedures and

         policies for dealing with an individual suffering from a mental health crisis and in

         danger of death.

                     COUNT IV – MAINE CIVIL RIGHTS ACT
                               5 M.R.S.A. §4682
                          CHRISTOPHER GERVAIS

      65. Plaintiff repeats and realleges the allegations of Paragraphs 1 through 64 as if fully

         restated herein.

      66. Defendant intentionally interfered or attempted to interfere with the exercise or

         enjoyment by Mr. Cohen of rights secured by the United States and Maine

         Constitutions.


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       67. Defendant’s actions in so doing were in violation of the Maine Civil Rights Act.

       68. Defendant’s actions directly and proximately caused Mr. Cohen serious physical

          and emotional harm, specifically death.

                             COUNT V – WRONGFUL DEATH
                               CHRISTOPHER GERVAIS

       69. Plaintiff repeats and realleges the allegations of Paragraphs 1 through 68 as if fully

          restated herein.

       70. Defendant wrongfully and/or negligently caused the death of Mr. Cohen.

       71. Defendant’s actions have directly and proximately caused Mr. Cohen’s heirs and

          estate to suffer pecuniary loss.

       72. Defendant’s actions have also directly and proximately caused Mr. Cohen’s heirs

          and estate to suffer the loss of comfort, care and companionship of Mr. Cohen, as

          well as significant emotional distress.

       73. Plaintiff also suffered conscious pain and suffering, medical, hospital and funeral

          expenses as the direct and proximate result of Defendant’s wrongful actions.

                COUNT VI – CONSCIOUS PAIN AND SUFFERING
                         CHRISTOPHER GERVAIS

       74. Plaintiff repeats and realleges the allegations of Paragraphs 1 through 73 as if fully

          restated herein.

       75. Defendant’s wrongful and/or negligent actions caused Mr. Cohen conscious pain

          and suffering prior to his death.

                               COUNT VII-DUE PROCESS
                                  MICHAEL RAND

       76. Plaintiff repeats and realleges the allegations contained in paragraphs 1 through 75

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          above, as if set forth fully herein.

       77. Defendant created a significant danger to Mr. Cohen, depriving him of due process

          of law as guaranteed by both the Maine and federal Constitutions.

       78. Upon information and belief that the Defendant violated his protocols, training and

          standards under the circumstances, creating such danger to Mr. Cohen.

       79. Defendant’s actions and deliberate indifference were so egregious and outrageous

          that they shock the contemporary conscience.

       80. Defendant’s failures to follow standard protocols and procedures deprived Plaintiff

          of due process causing Plaintiff significant physical and emotional damages,

          including death.


                             COUNT VIII – SECTION 1983
                                 MICHAEL RAND

       81. Plaintiff repeats and realleges the allegations of Paragraphs 1 through 80 as if fully

          restated herein.

       82. Pursuant to the Eighth Amendment, Defendant Rand, individually, owed Mr.

          Cohen a duty to not deprive him of his rights, privileges or immunities secured by

          the Constitution and laws of the United States.

       83. Defendant had a duty to take reasonable measures to avoid denying Mr. Cohen

          the same, by following orders and complying with orders and his employer’s

          policies and procedures under the circumstances.

       84. Defendant, acting under color of a statute, ordinance, regulation, custom, or usage,

          of the State of Maine, subjected, or caused to be subjected, Mr. Cohen, a citizen of


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          the United States, to a deprivation of his rights, privileges, or immunities secured

          by the Constitution and laws of the United States.

       85. As a result of Defendant’s actions and/or inactions, Defendant is liable to Plaintiff

          in an action at law.

       86. Defendant knew of and intentionally and/or recklessly disregarded a known risk to

          Mr. Cohen’s health and safety.

       87. Defendant acted with deliberate indifference to Eric Cohen’s health and safety,

          causing him injury, specifically death.

       88. Upon information and belief that Defendant also failed to follow procedures and

          policies for dealing with an individual suffering from a mental health crisis and in

          danger of death.

                      COUNT IX – MAINE CIVIL RIGHTS ACT
                                5 M.R.S.A. §4682
                                MICHAEL RAND

       89. Plaintiff repeats and realleges the allegations of Paragraphs 1 through 88 as if fully

          restated herein.

       90. Defendant intentionally interfered or attempted to interfere with the exercise or

          enjoyment by Mr. Cohen of rights secured by the United States and Maine

          Constitutions.

       91. Defendant’s actions in so doing were in violation of the Maine Civil Rights Act.

       92. Defendant’s actions directly and proximately caused Eric Cohen serious physical

          and emotional harm, specifically death.

                             COUNT X – WRONGFUL DEATH
                                  MICHAEL RAND

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       93. Plaintiff repeats and realleges the allegations of Paragraphs 1 through 92 as if fully

          restated herein.

       94. Defendant wrongfully and/or negligently caused the death of Mr. Cohen.

       95. Defendant’s actions have directly and proximately caused Mr. Cohen’s heirs and

          estate to suffer pecuniary loss.

       96. Defendant’s actions have also directly and proximately caused Mr. Cohen’s heirs

          and estate to suffer the loss of comfort, care and companionship of Mr. Cohen, as

          well as significant emotional distress.

       97. Plaintiff has also suffered conscious pain and suffering, medical, hospital and

          funeral expenses as the direct and proximate result of Defendant’s wrongful

          actions.

                COUNT XI – CONSCIOUS PAIN AND SUFFERING
                             MICHAEL RAND

       98. Plaintiff repeats and realleges the allegations of Paragraphs 1 through 97 as if fully

          restated herein.

       99. Defendant’s wrongful and/or negligent actions caused Mr. Cohen conscious pain

          and suffering prior to his death.

                              COUNT XII-DUE PROCESS
                                    JOHN DOE

       100. Plaintiff repeats and realleges the allegations contained in paragraphs 1 through

          99 above, as if set forth fully herein.

       101. Defendant created a significant danger to Mr. Cohen, depriving him of due

          process of law as guaranteed by both the Maine and federal Constitutions.

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       102. Upon information and belief that the Defendant violated his protocols, training

          and standards under the circumstances, creating such danger to Mr. Cohen.

       103. Defendant’s actions and deliberate indifference were so egregious and outrageous

          that they shock the contemporary conscience.

       104. Defendant’s failures to follow standard protocols and procedures deprived

          Plaintiff of due process causing Plaintiff significant physical and emotional

          damages, including death.


                             COUNT XIII – SECTION 1983
                                   JOHN DOE

       105. Plaintiff repeats and realleges the allegations of Paragraphs 1 through 104 as if

          fully restated herein.

       106. Pursuant to the Eighth Amendment, Defendant individually, owed Eric Cohen a

          duty to not deprive him of his rights, privileges or immunities secured by the

          Constitution and laws of the United States.

       107. Defendant had a duty to take reasonable measures to avoid denying Eric Cohen

          the same, by following orders and complying with orders and his employer’s

          policies and procedures under the circumstances.

       108. Defendant, acting under color of a statute, ordinance, regulation, custom, or

          usage, of the State of Maine, subjected, or caused to be subjected, Mr. Cohen, a

          citizen of the United States, to a deprivation of his rights, privileges, or immunities

          secured by the Constitution and laws of the United States.

       109. As a result of Defendant’s actions and/or inactions, Defendant is liable to Plaintiff


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          in an action at law.

       110. Defendant knew of and intentionally and/or recklessly disregarded a known risk

          to Mr. Cohen’s health and safety.

       111. Defendant acted with deliberate indifference to Eric Cohen’s health and safety,

          causing him injury, specifically death.

       112. Upon information and belief that Defendant also failed to follow procedures and

          policies for dealing with an individual suffering from a mental health crisis and in

          danger of death.

                     COUNT XIV – MAINE CIVIL RIGHTS ACT
                               5 M.R.S.A. §4682
                                  JOHN DOE

       113. Plaintiff repeats and realleges the allegations of Paragraphs 1 through 112 as if

          fully restated herein.

       114. Defendant intentionally interfered or attempted to interfere with the exercise or

          enjoyment by Mr. Cohen of rights secured by the United States and Maine

          Constitutions.

       115. Defendant’s actions in so doing were in violation of the Maine Civil Rights Act.

       116. Defendant’s actions directly and proximately caused Mr. Cohen serious physical

          and emotional harm, specifically death.

                           COUNT XV – WRONGFUL DEATH
                                    JOHN DOE

       117. Plaintiff repeats and realleges the allegations of Paragraphs 1 through 116 as if

          fully restated herein.

       118. Defendant wrongfully and/or negligently caused the death of Mr. Cohen.

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         119. Defendant’s actions have directly and proximately caused Mr. Cohen’s heirs and

             estate to suffer pecuniary loss.

         120. Defendant’s actions have also directly and proximately caused Mr. Cohen’s heirs

             and estate to suffer the loss of comfort, care and companionship of Mr. Cohen, as

             well as significant emotional distress.

         121. Plaintiff has also suffered conscious pain and suffering, medical, hospital and

             funeral expenses as the direct and proximate result of Defendant’s wrongful

             actions.

                  COUNT XVI – CONSCIOUS PAIN AND SUFFERING
                                  JOHN DOE

         122. Plaintiff repeats and realleges the allegations of Paragraphs 1 through 121 as if

             fully restated herein.

         123. Defendant’s wrongful and/or negligent actions caused Mr. Cohen conscious pain

             and suffering prior to his death.



WHEREFORE, Plaintiff respectfully prays that this Honorable Court:

          a. Declare that Defendants have wrongfully deprived ERIC COHEN of his

              constitutionally secured rights under the Maine and United States Constitution;

          b. Declare that Defendants have wrongfully caused the death of ERIC COHEN;

          c. Award Plaintiff compensatory damages to be determined at trial;

          d. Award Plaintiff punitive damages to be determined at trial;

          e. Award Plaintiff pre-judgment interest;

          f. Award Plaintiff attorney’s fees and costs;

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          g. Award Plaintiff such further relief as it deems just and proper.



Date: September 15, 2021                    _____/s/ Verne Paradie__________
                                            VERNE E. PARADIE, JR, ESQUIRE
                                            Attorney for the Plaintiff
                                            Bar No: 8929
                                            vparadie@lawyers-maine.com




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